                               Lisabet Pardo-Estrada
                                   April 22, 2021

· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · ·FOR THE MIDDLE DISTRICT OF FLORIDA
· · · · · · · · · · · ·TAMPA DIVISION

· · · · · · · CASE NO.:· 8:20-CV-02453-VMC-AAS

·

· · MIKE BRINKMAN,

· · · · · · · · · ·PLAINTIFF,

· · VS.

·   · EQUIFAX INFORMATION SERVICES, LLC
·   · AND ACCOUNT RESOLUTION SERVICES, LLC,
·
·   · · · · · · · · ·DEFENDANTS.
·   · ____________________________________/

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· · · · REMOTE TELECONFERENCE VIDEO DEPOSITION OF:
· · · · · · · · · ·LISABET PARDO-ESTRADA

·

· · · · · · · · · · DATE:· April 22, 2021

·

· · · · · · ·START TIME:· 10:00 a.m - 11:25 a.m.

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· · · · · · · ·PLACE:· Broward County, Florida
· · · · · · · · · · · ·Remote Teleconference
· · · · · · · · · · · ·Video Deposition

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·   ·   · · · · ·   · Stenographically Reported by:
·   ·   · · · · ·   · · ALTHEA WILLIAMS-GONZALEZ
·   ·   · · · · ·   · · · ·COURT STENOGRAPHER
·   ·   · · · · ·   ·NOTARY PUBLIC, STATE OF FLORIDA
·   ·   APPEARING   REMOTELY FROM HILLSBOROUGH COUNTY, FLORIDA


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                                   April 22, 2021

·1· · · · · · · · · · · ·APPEARANCES

·2

·3
· · On Behalf of the Plaintiff:
·4

·5·   ·   ·   Morgan & Morgan, P.A.
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·9

10

11· On Behalf of the Defendants:

12
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· ·   ·   ·   BY:· ERNEST H. KOHLMYER, III, ESQUIRE
16

17

18· Also Present:

19· David M. Friedlander, The President of ARS

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·8· · · · · ·(Thereupon, the exhibits were kept

·9· · · · · · ·in the possession of Mr. Gomez)

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·1· · · · · · · · · P R O C E E D I N G S

·2· Remote Teleconference Video Deposition taken before

·3· Althea Williams-Gonzalez, Notary Public in and for the

·4· State of Florida at Large in the above cause.

·5· · · · · · · · · · · · * * * * *

·6· · · · · · ·THE COURT REPORTER:· The attorneys

·7· · · · participating in this proceeding acknowledge

·8· · · · that I am not physically present in the

·9· · · · proceeding room and that I will be reporting

10· · · · this proceeding remotely.

11· · · · · · ·They further acknowledge that, in lieu of

12· · · · an oath administered in person, the witness will

13· · · · verbally declare his/her testimony in this

14· · · · matter is under penalty of perjury.

15· · · · · · ·The parties and their counsel consent to

16· · · · this arrangement and waive any objections to

17· · · · this manner of reporting.· As a failsafe, I may

18· · · · be using the technology provider to record this

19· · · · proceeding in the unlikely event there are

20· · · · connection problems.

21· · · · · · ·This recording is strictly for my own use

22· · · · to ensure an accurate transcription of these

23· · · · proceedings.· Will all parties, please, indicate

24· · · · your agreement by stating your name and your

25· · · · agreement for the record.


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·1· · · · MR. GOMEZ:· Tav Gomez; with Morgan and

·2· ·Morgan, on behalf of Mr. Brinkman.· And we

·3· ·agree.

·4· · · · MR. KOHLMYER, III:· Ernest Kohlmyer; with

·5· ·Shepard, Smith, Kohlmyer & Hand, on behalf of

·6· ·the defendant, ARS.· And I agree.

·7· · · · THE WITNESS:· Um, Lisabet Pardo-Estrada;

·8· ·um, AR -- with ARS.· And I agree.

·9· · · · THE COURT REPORTER:· Will the witness,

10· ·please, say and spell your first and last name

11· ·for the record.

12· · · · THE WITNESS:· Um, first name is "L-I-S", as

13· ·in "Sam", "A-B", as in "boy", "E-T", as in

14· ·"Thomas".· Last name is "Pardo-Estrada"; "P", as

15· ·in "Paul", "A-R-D", as in "David", "O".

16· ·"Estrada", "E-S", as in "Sam", "T-R-A-D", as in

17· ·"David", "A".

18· · · · THE COURT REPORTER:· Will the witness now,

19· ·please, repeat the following declaration for the

20· ·record.

21· · · · THE WITNESS:· I declare my testimony in

22· ·this matter is under penalty of perjury.

23· · · · THE COURT REPORTER:· The witness having

24· ·declared that his/her testimony in this matter

25· ·is under penalty of perjury, and the parties


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·1· · · · have stated their agreement for the record; you

·2· · · · may proceed.

·3· · · · · · · · · ·DIRECT EXAMINATION

·4· BY MR. GOMEZ:

·5· · · · Q· · Thank you.· Good morning, Ms. Pardo.· How

·6· are you doing today?

·7· · · · A· · Good.· How are you?

·8· · · · Q· · Good.· Good.· Um, have you ever been

·9· deposed before?

10· · · · A· · No.

11· · · · Q· · Okay.· I wanna give you some ground rules

12· so you understand sort of the way it's gonna go today.

13· · · · A· · Okay.

14· · · · Q· · The first rule -- the first rule is, This

15· isn't a memory test.· Meaning if there is a document,

16· or if you have seen something that might help you

17· refresh your memory to testify today; let me know, and

18· I'll try to find it or pull it up.

19· · · · · · ·I'm gonna be showing some documents.· But

20· if -- if there's anything in those documents that will

21· help you refresh your memory; please just tell me.· If

22· you show me something; you know, describe the

23· document.· That might help.· Do you understand that?

24· · · · A· · Yes.

25· · · · Q· · All right.· You understand you're


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·1· testifying under oath.· Um, even though we're doing

·2· this remotely, you understand that you will be

·3· testifying as if -- as if you were in front of a

·4· judge, or in front of a jury.· Do you understand that?

·5· · · · A· · Yes.· Yes.

·6· · · · Q· · I'm gonna be asking you some questions.

·7· Um, sometimes, you may not know the exact answer; but

·8· if you can give me at that point, and let me know,

·9· "Well, I will say I average this much".· Or if you're

10· trying to estimate; just let me know if you're

11· estimating, or if it's something that you know for

12· sure.· Do you understand that?

13· · · · A· · Yes.

14· · · · Q· · This deposition shouldn't take very long;

15· but if we go on for a little bit of time and you need

16· to take a break, a bathroom break or you're hungry,

17· just let me know, and as long as we don't have a

18· question pending, I should be able to accommodate you

19· relatively soon.· Do you understand that?

20· · · · A· · Yeah.

21· · · · Q· · Okay.· During the -- during the deposition,

22· you may hear Mr., um, Kohlmyer say something to the

23· level of, "Objection, form".· Um, if he begins to

24· speak; just, please, um, stop your answer, let him put

25· it on the record, and then you can go ahead and answer


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·1· right after that.· So even if he says, "Objection,

·2· form", then go ahead and answer.

·3· · · · A· · Okay.

·4· · · · Q· · The only time you're not going to answer is

·5· if he goes, "I'm gonna object, and I'm gonna instruct

·6· you not to answer the question".· Do you understand

·7· that?

·8· · · · A· · Yes.

·9· · · · Q· · Okay.· Part of it would be that I never

10· want you to tell me whether Mr. Kohlmyer or any other

11· attorney -- any communications or conversations you've

12· had with any lawyer, I don't want you to tell me about

13· it.· Do you understand?

14· · · · A· · Yes.

15· · · · Q· · Now you can tell me, "I spoke to

16· Mr. Kohlmyer".· You can tell me, "I saw him", or "I

17· spoke to an attorney".· I just don't want you to tell

18· me the content of that communication.· Do you

19· understand that?

20· · · · A· · Okay.· Yes.

21· · · · Q· · Okay.· I wanna first start by asking you,

22· um, what did you do in preparation for today's

23· deposition?

24· · · · · · ·MR. KOHLMYER, III:· Sub -- subject to

25· · · · Mr. Gomez', um, clarification.· As to any


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·1· · · · communications that you've had with internal,

·2· · · · um, representatives at my direction, or any

·3· · · · conversations that you've had with me in

·4· · · · preparation; I instruct you not to answer.· To

·5· · · · any extent beyond that, you're free to answer.

·6· · · · A· · Okay.· Um, as far as preparation, I just

·7· went over the, um -- the notes in that account; um, as

·8· well as reviewed the, um, "Consumer Dispute

·9· Verification Form".

10· · · · Q· · Okay.· All right.· Great.· And when you're

11· saying the "account", the "notes"; are you referring

12· to sort of the -- either the "Consumer Fact Sheet"; is

13· that what you're referring to?

14· · · · A· · Um, yes.· They're notes from FACS.

15· · · · Q· · Okay.· The notes for FACS.· Okay.· We'll --

16· and we'll talk about them in a little bit.· Um, and

17· then you indicated you reviewed, um, I guess, the

18· answer.· Is it something that you might know as an

19· "Automated Consumer Dispute Verification"?· An "ACDV"?

20· · · · A· · Yes.· I have a copy of that.

21· · · · Q· · Okay.· Great.· And what I'm gonna do is,

22· um, today, I may pull up exhibits on my screen.· Um,

23· when I'm doing that, if you need me to zoom in or zoom

24· out; please just instruct me, and I'll try to follow

25· your direction.· Do you understand?


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·1· · · · A· · Okay.· Correct.· Yes.

·2· · · · Q· · All right.· Great.· Okay, Ms. Pardo.· Let's

·3· begin by talking a little bit about you.· Um, did you

·4· attend high school?

·5· · · · A· · Yes.

·6· · · · Q· · And did you graduate?

·7· · · · A· · Yes.

·8· · · · Q· · What year, and what high school?

·9· · · · A· · Um, Andover High School, in Massachusetts.

10· Um, in Andover, Massachusetts.· I graduated in 1992.

11· · · · Q· · Okay.· After high school, did you attend

12· any college?

13· · · · A· · Um, no.

14· · · · Q· · Okay.· Did you do any type of technical

15· school; anything like that?

16· · · · A· · Yes.

17· · · · Q· · What kind of schooling did you achieve, um,

18· any type of licensing?

19· · · · A· · Um, I did go for medical billing.

20· · · · Q· · Okay.· And did you achieve or secure a

21· medical billing licensing or a certificate?

22· · · · A· · Um, I -- yes.· A certificate.

23· · · · Q· · Okay.· How long was that program?

24· · · · A· · About a year; maybe less.

25· · · · Q· · Okay.· All right.· Good.· Good.· Outside of


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·1· that certificate, do you have or hold any other

·2· licenses or certificates?

·3· · · · A· · Um -- um, I believe it's expired; but I did

·4· have a medical assistant.

·5· · · · Q· · Okay.· Fair enough.· Let's talk a little

·6· bit about "ARS", which is "Account Resolution

·7· Services".· How long have you worked for them?

·8· · · · A· · It will be three years in July.

·9· · · · Q· · All right.· And I'm gonna ask you a little

10· bit about ARS.· But let's go before ARS, where did you

11· work?

12· · · · A· · Um, prior to coming here, um, I did work in

13· an urgent, um, medical, um, urgent care facility as

14· a -- um, in the front desk; which was -- that was a

15· temporary position.

16· · · · · · ·And also I worked for Liberty Mutual, um,

17· as an insurance assistant, and a customer service

18· representative, um, for 11 years from -- oh gosh.       I

19· would say, um, 1998 to 2009.

20· · · · Q· · Okay.· So let's talk about, first of all,

21· the Liberty Mutual.· Um, when you were working there,

22· did you have anything to do with any issue that will

23· be involved in a "Fair Credit Reporting Act"

24· situation?· Meaning, did you handle any communications

25· with credit reporting agencies, or verify any type of


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·1· disputes?

·2· · · · A· · No.

·3· · · · Q· · Okay.· What about at the urgent care

·4· facility, at the front desk?

·5· · · · A· · No.

·6· · · · Q· · When you get hired at ARS; at any time of

·7· your life, had you had any type of experience

·8· regarding credit reporting, or disputes about credit

·9· reporting?

10· · · · A· · No.

11· · · · Q· · Okay.· You get hired at ARS and, um, what

12· is your -- what position did you apply for?

13· · · · A· · A Clerk II.

14· · · · Q· · Okay.· And what is -- what are the duties

15· for a Clerk II?· What are you in charge of doing?

16· · · · A· · Um, I respond to, um, the credit bureau,

17· um, disputes that come in through e-OSCAR; as well as

18· any disputes that come in through correspondence.

19· Through mail correspondence.

20· · · · Q· · Okay.· Do you have any other job outside of

21· responding to these disputes?

22· · · · A· · Um, not -- um, unless I'm sometimes doing

23· backup for somebody else, I might have other duties.

24· But that's only when I'm -- they're not, um -- when

25· I'm covering for them; if they're out on vacation or


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·1· something.

·2· · · · Q· · Okay.· And, um, are you paid a salary or

·3· hourly?

·4· · · · A· · Um, salary.

·5· · · · Q· · Okay.· And about how many hours do you work

·6· a week?

·7· · · · A· · 40.

·8· · · · Q· · Is that a Monday through Friday type of

·9· job?

10· · · · A· · Yes.

11· · · · Q· · What time do you normally come in?

12· · · · A· · 8:30.

13· · · · Q· · And what time do you normally leave?

14· · · · A· · 5:30.

15· · · · Q· · Okay.· Um, you take an hour lunch in

16· between that time?

17· · · · A· · Yes.

18· · · · Q· · Do you take two breaks, each of them 15

19· minutes; one in the morning, one in the afternoon?

20· · · · A· · Yes.

21· · · · Q· · Tell me when you began working at ARS; I

22· want you to try to -- in as much detail as you can --

23· tell me about the training you received; who taught

24· you?· Walk me through that process.

25· · · · A· · Um, I trained with, um -- with Nick in


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·1· regards to, um, the disputes that come in through, um,

·2· e-OSCAR.· He trained me on how to do that.

·3· · · · Q· · Okay.· But when you say "Nick"; what --

·4· what is Nick's, um, last name?

·5· · · · A· · "Nicholas Greaves".

·6· · · · Q· · Okay.· Can you spell that last name for the

·7· court reporter?

·8· · · · A· · Sure.· It's "G-R-E-A-V", as in "Victor",

·9· "E-S", as in "Sam".

10· · · · Q· · Okay.· And he was training you regarding,

11· um, how to access?· Um, what is the name of the

12· program that you use to access the e-OSCAR disputes?

13· · · · A· · Um, "Sonnet".

14· · · · Q· · Okay.· Can you spell "Sonnet" for the court

15· reporter?

16· · · · A· · "S", as in "Sam", "O-N", as in "Nancy",

17· "N", as in "Nancy", "E-T", as in "Thomas".

18· · · · Q· · Okay.· So he begins, um, showing you, and

19· training you on Sonnet.· Um, what else did -- what

20· else -- what other training did you receive?

21· · · · A· · Um, it's with the, um, correspondence that

22· we receive, um, through the mail; I trained with

23· someone else in the office.

24· · · · Q· · Okay.· And we don't need to discuss that,

25· as it's not relevant for this case.


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·1· · · · A· · Okay.

·2· · · · Q· · Let's talk about -- what about, um, when

·3· training; were you given a test?· Any type of -- once

·4· your training was done; any type of test to sort of,

·5· um, determine whether or not you are now qualified to

·6· handle disputes?· How did that work?

·7· · · · A· · Um, I -- I didn't receive any type of test.

·8· Not that I remember.

·9· · · · Q· · Okay.· Fair enough.· Um, how long would you

10· say that training lasted with Nick?

11· · · · A· · Oh, um, maybe a couple of weeks; I would

12· say.

13· · · · Q· · Okay.· Um, --

14· · · · A· · Maybe.

15· · · · Q· · Maybe two weeks, two to three weeks; is

16· that what you think?

17· · · · A· · Yeah.· Um, not -- not three weeks.· It was

18· definitely less than three weeks.· But two weeks; I

19· would say.

20· · · · Q· · Fair enough.· Um, were you given any type

21· of booklet or any type of manual regarding policies

22· and procedures of how to handle disputes?

23· · · · A· · Um, I don't recall, honestly.

24· · · · Q· · All right.· What about now?· Currently

25· today, if I said to you, "I want you to look up the


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·1· policy and procedure of how to handle a dispute, um,

·2· 12" -- for example -- "from the credit reporting

·3· agencies".· How would you access that?

·4· · · · A· · Um, I would have to go to, um, like either

·5· Nick, or -- 'cause I don't have that on hand.

·6· · · · Q· · Okay.· So you don't -- on your daily

·7· practice, on your daily, um, duties of responding to

·8· these ACDVs; you don't have access to any policies or

·9· manuals that dictate some specific steps, um,

10· regarding each type of dispute, correct?

11· · · · A· · Um, at the moment, I -- I don't recall.

12· · · · Q· · Okay.· But, um, I guess, um, do you have

13· any recollection of any time during the last three

14· years while working at ARS, where you have had handy

15· the ability to look at policies and procedures, um,

16· from ARS, or -- or from Sonnet as to how to handle a

17· specific dispute?

18· · · · A· · Um, I -- I -- we may have like a booklet;

19· but I don't remember exactly what's in it.

20· · · · Q· · Okay.· When would you say was the last time

21· you received training involving how to respond to

22· these, um, disputes?

23· · · · A· · Um, well, the last would -- it would've

24· been when I first started.

25· · · · Q· · Okay.· So you -- the training you received


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·1· about three years ago, that was the training; and

·2· since then, you don't recall any type of follow-up

·3· training, correct?

·4· · · · A· · Yes.

·5· · · · Q· · Okay.· Um, I wanna talk to you a little bit

·6· about the program that you use, "FACS".· And that's

·7· "F-A-C-S", correct?

·8· · · · A· · Yes.· "F-A-C-S".

·9· · · · Q· · Okay.· I know it's gonna look different;

10· but, hopefully, you've seen a copy of this.· And I'm

11· gonna start sharing my screen, um, to a document that

12· was produced; and we're gonna mark it as "Plaintiff's

13· Exhibit No. 1".

14· · · · · · ·And I am going to show you on my screen,

15· and it begins on "ARS 004", and it has Mr. Brinkman's,

16· um, name.· Tell me if you're able to see this on my

17· screen, or whether or not you have a copy of it, a

18· physical copy?

19· · · · A· · Um, I -- I -- I see it on your screen

20· perfectly.

21· · · · Q· · Okay.· Great.· Have you seen this document

22· or documents like this before today?

23· · · · A· · I don't think so.· I mean, um, is that

24· the -- it looks similar to --

25· · · · Q· · Does it look -- you -- you indicated to me


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·1· you reviewed some notes.· Do you remember if this is a

·2· copy or something similar to what you reviewed?

·3· · · · A· · Yeah.· It looks something similar to what

·4· I -- um, like the notes that I have for FACS.

·5· · · · Q· · Do you have those notes -- do you have

·6· those notes in front of you?

·7· · · · A· · Yes.

·8· · · · Q· · Would you put 'em up to the screen?    I

·9· wanna make sure that I'm not in any way misleading

10· you, or asking you questions about something else.

11· · · · A· · Um, I don't know if -- I -- I only have it

12· on my -- on my --

13· · · · Q· · On paper?

14· · · · A· · Yeah.· I only have it on paper.· I don't

15· have it electronically.

16· · · · Q· · No, no.· That's fine.· Would you mind

17· putting it up to the camera?· I just wanna see what --

18· what it looks like.· Okay.· They seem to be, um, the

19· same.· Does it begin with -- is that first date that

20· you see on top on that document "11/21/18"?

21· · · · A· · That's correct.

22· · · · Q· · Is this "GAP", is that the same?

23· · · · A· · It's the same.

24· · · · Q· · Okay.· Great.· Great.· And, you know, feel

25· free to either look in the document that you have in


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·1· front of you, or on the screen.

·2· · · · A· · Okay.

·3· · · · Q· · Um --

·4· · · · · · ·MR. KOHLMYER, III:· It may be -- it may be

·5· · · · the redactions, and it may just be the way that

·6· · · · it's designed; so it should be the same.

·7· · · · · · ·THE WITNESS:· Okay.

·8· BY MR. GOMEZ:

·9· · · · Q· · Perfect.· And I'll try to guide you; and

10· what will help is we have dates.· Um, by looking at

11· this document, would you agree that this seems to be a

12· printout of your FACS program regarding an account?

13· · · · A· · Yes.

14· · · · Q· · Okay.· Um, your initials; if I was to look

15· in this document for your initials, how would they

16· appear in -- in -- in FACS?

17· · · · A· · Um, they would appear as "LZP".

18· · · · Q· · "LZP".· So I wanna point you to

19· "Plaintiff's Exhibit No. 1", in page 10 of 12, which

20· has been marked as "ARS 13".· And I see something

21· labeled "LZP", on "March 20, 2020", at "3:24 p.m."· Do

22· you see that?

23· · · · A· · Yes.

24· · · · Q· · This "LZP"; is that what you were --

25· identified as being your -- I guess your describer in


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·1· this FACS program?

·2· · · · A· · Um, like as a user you mean in FACS?

·3· · · · Q· · Correct.

·4· · · · A· · Yeah.· Those are my FACS user initials.

·5· · · · Q· · Okay.· Fair enough.· All right.· But before

·6· we even get to March, I wanna talk to you about what

·7· is gonna be marked as "Plaintiff's Exhibit No. 2", and

·8· it's gonna be, um -- I'm gonna represent to you this

·9· is a document that was produced by "Equifax".· And

10· it's --

11· · · · A· · Uh-huh.

12· · · · Q· · -- Bates stamped "EIS-BRINKMAN-007"; and

13· um, it is titled "Collection Automated Consumer

14· Dispute Verification".· Do you see that on your

15· screen?

16· · · · A· · Yes.

17· · · · Q· · Have you seen this document or a similar

18· printout of this document before?

19· · · · A· · I -- I mean, I have a copy of it.· But

20· be -- prior to receiving a copy of it, no.· I've not

21· seen this.

22· · · · Q· · Okay.· So I -- my understanding is when you

23· review a dispute from Sonnet, it might contain this

24· information we're looking at; it's just it looks

25· different; the view is different.· Is that a fair


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·1· statement?

·2· · · · A· · Yes.

·3· · · · Q· · Okay.· I want you to walk me -- before we

·4· get specifically as to this case -- walk me through

·5· your daily routine in the morning.· You come in at

·6· 8:30, you clock in; what -- what do you do?

·7· · · · A· · Um, clock in, um, and I usually check, um

·8· -- check my e-mail; um, and -- and clock in.· And I --

·9· I usually sign in, um, in to FACS right away, um, and

10· in Sonnet.

11· · · · Q· · Okay.· Do you have two monitors, or just a

12· single monitor?

13· · · · A· · I have two.

14· · · · Q· · Okay.· Would you log in, in to Sonnet on

15· one, and on FACS on the other one?

16· · · · A· · Yes.

17· · · · Q· · Okay.· Fair enough.· Um, do you have a

18· desktop in your -- I mean, do you have a telephone at

19· your desktop, or at your cubicle?

20· · · · A· · I do have a telephone, yes.

21· · · · Q· · Okay.· I want you to describe, if you can,

22· the area where you work?· I wanna start with the room

23· where you work at.· About how many people would you

24· say work in that same room?

25· · · · A· · Um, well, it's a big open space with


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·1· cubicles.

·2· · · · Q· · Okay.

·3· · · · A· · And the cubicles are pretty enclosed;

·4· almost like if it was in your own office.

·5· · · · Q· · Okay.· About how many cubicles or how many

·6· people do you think, um, are sitting around you in

·7· that room?

·8· · · · A· · Um, there's about -- um, right now, 'cause

·9· of COVID, um, there is three.· Three people.

10· · · · Q· · Okay.· So I wanna -- most of the questions

11· I'm gonna ask you, unless I tell you otherwise, I want

12· you to frame your answer "January", and "February", or

13· "March of 2020".· So right before you got sent home,

14· um, when would you say you were sent home, um, by ARS

15· to work from home?

16· · · · A· · I -- I wanna say it was "March".

17· · · · Q· · Okay.· So tell me the answers previously

18· before, um, the movement.· So "January", and

19· "February", how many people would you say were sitting

20· around you, or will fit in that room?

21· · · · A· · Um, it -- it's kinda hard to answer,

22· because it's a large area with a lot of cubicles.· So

23· --

24· · · · Q· · Okay.

25· · · · A· · -- there's -- in my -- just in my section,


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·1· like it would be the "ARS Clerk Section", there would

·2· be, um, let's see:· One, two, three, four -- um, there

·3· would be six of us.

·4· · · · Q· · Okay.· So tell me a little bit about that.

·5· In January or February of 2020, how many clerks did

·6· ARS employ?· Meaning Clerk IIs, like your position?

·7· · · · A· · So -- so okay.· So that's -- so including

·8· myself, it would -- it would be five.

·9· · · · Q· · "Five"?· Okay.· How many of those clerks

10· were -- would you say are sitting in the same room

11· that you are?

12· · · · A· · Um, we're separated by cubicles --

13· · · · Q· · Okay.

14· · · · A· · -- in the same room, so.

15· · · · Q· · Okay.

16· · · · A· · It's not like we can't --

17· · · · Q· · Is Nicholas --

18· · · · A· · -- we can't see each other.

19· · · · Q· · -- is Nicholas Greaves -- is Nicholas

20· Greaves in the same room you are, or is he in a

21· different room?

22· · · · A· · He -- he's in a different area.

23· · · · Q· · Okay.· So at least four of the other

24· clerks, they're around you; except Nicholas Greaves is

25· somewhere else?


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·1· · · · A· · Yes.· In the same building, but in a

·2· different area.

·3· · · · Q· · Okay.· Fair enough.· How many of those

·4· clerks review and answer disputes, um, made by debtors

·5· to the credit reporting agencies?

·6· · · · A· · Um, through Sonnet, or e-OSCAR, or via mail

·7· correspondence?

·8· · · · Q· · Yeah.· Just through -- through Sonnet,

·9· through e-OSCAR?

10· · · · A· · Okay.· Um, usually, it's myself; um,

11· another clerk; and Nick.· Occasionally, there's also

12· another clerk that comes in.

13· · · · Q· · Who is the other clerk that handles, um,

14· disputes sort of full-time, like you and Nick?

15· · · · A· · Um, that would be "Eric Class".

16· · · · Q· · Can you spell his last name?

17· · · · A· · Um, "C", as in "Charlie", "L-A-S", as in

18· "Sam", "S", as in "Sam."

19· · · · Q· · Fair enough.· All right.· So tell me, um,

20· Ms. Pardo, you log in.· On an average day -- my

21· understanding -- can vary greatly.· But on an average

22· day, about how many, um, disputes do you handle

23· received from Sonnet, and responses?

24· · · · · · ·MR. KOHLMYER, III:· Object to form.· You

25· · · · can answer; if you know.


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·1· · · · A· · Um, do you mean on a daily basis how many

·2· come in?

·3· · · · Q· · How many come in that you actually handle

·4· and respond?· And I understand it might vary; so you

·5· can say, you know, "Anywhere between" -- I don't know

·6· -- "One, to 1000".· Whatever, um, number you --

·7· you can -- you feel comfortable.· You can estimate.

·8· · · · A· · Okay.· I would say anywhere between -- it

·9· could be maybe like 300.

10· · · · Q· · Okay.

11· · · · A· · Maybe 400.

12· · · · Q· · Okay.· And those 300, 400, are they divided

13· amongst Eric Class; Nicholas Greaves; and yourself?

14· Or you think you, yourself, are handling about 300,

15· 400 sometimes?

16· · · · A· · Um, on -- on average, um, we normally

17· handle about that.· Each -- each one of us handle

18· about that amount.· Some less.

19· · · · Q· · Okay.

20· · · · A· · Some more.

21· · · · Q· · Okay.· Fair enough.· When you log in, in to

22· Sonnet at 8:30 in the morning after you check your

23· e-mail; um, what do -- what do you see?· Do you see a

24· huge list of disputes, or does one pop up?· Tell me a

25· little bit about how that works?


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·1· · · · A· · Um, it's a list in chronological order.

·2· · · · Q· · And the chronological order, is that by

·3· date that it's received?

·4· · · · A· · Um, it's -- it's by, um -- oh gosh.· Um,

·5· it's by due date.

·6· · · · Q· · Okay.· So the -- the -- the due dates that

·7· are coming up faster or sooner, you're handling those

·8· first; is that a fair statement?

·9· · · · A· · Yes.· That's correct.

10· · · · Q· · How do you initiate looking at a dispute?

11· Do you highlight it?· Do you click on it?· Does it

12· automatically open?· Walk me through that.

13· · · · A· · Um, we just click on it in the list.· We

14· just click on it, and it will open up.

15· · · · Q· · When you -- okay.· So you click on it on

16· Sonnet, and it opens up on your Sonnet screen,

17· correct?

18· · · · A· · Yes.

19· · · · Q· · Does -- is your system, um, I guess,

20· configurated to try to identify the account, and

21· automatically open in FACS; or is it something you

22· have to do manually to go into FACS?

23· · · · A· · Um, what -- what I do is copy and paste the

24· account number that's showing in Sonnet, in to FACS,

25· so it'll pull up that account.


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·1· · · · Q· · Great.· Now let's switch to the screen of

·2· FACS.· Once you --

·3· · · · A· · Okay.

·4· · · · Q· · -- copy and paste the account number, and

·5· you hit enter; um, you're going to -- tell me what is

·6· populated?· What -- what do you see?· What comes up?

·7· · · · A· · Um, what populates is, um, you'll see the,

·8· um -- the patient demographics on the top; and then

·9· below, um, would be like the "address"; "date of

10· birth"; "social"; "phone number".· Just like the basic

11· account information.

12· · · · Q· · Okay.· So you'll see the demographics.· Um,

13· do you see also maybe, "Amount past due", or any type

14· of information about payments?

15· · · · A· · Yeah.· Yes.· It will show the amount the --

16· the amount that's, um, the current balance.

17· · · · Q· · Okay.· Um, are you also able to see what we

18· were discussing earlier; um, which is -- my

19· understanding is, I mean, it's been called a "Consumer

20· Fact Sheet", or these, um, FACS sort of entries or

21· notes.· Do you know if you're able to see that on

22· FACS?

23· · · · A· · Yes.· We're able to see that.

24· · · · Q· · All right.· Perfect.· So let's, um -- let's

25· pretend you go and you get a dispute, and you look at


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·1· the dispute and it belongs to, you know, our client

·2· "Michael Brinkman", for example.

·3· · · · · · ·The account number that you will copy and

·4· paste, it will be this two, four, six -- this eight

·5· digit number?· And this ACDV seems to be "86549439"?

·6· Is that the --

·7· · · · A· · That's correct.

·8· · · · Q· · Okay.· So that will be the number you will

·9· copy, you will paste into FACS, and you would

10· populate, or it will be populating all the information

11· we described, correct?

12· · · · A· · Yes.

13· · · · Q· · Now the dispute here -- and I understand

14· this form might be a little different -- the dispute

15· here is a "Code 13".· Do you see that?

16· · · · A· · Yes.

17· · · · Q· · And are you familiar with what a dispute

18· under "Code 13" is?

19· · · · A· · Um, I mean, it pretty much says it right

20· there.· Um, they're just, um, disputing the, um,

21· current balance, or the amount past due.

22· · · · Q· · Okay.· So, clearly, the code has also

23· within it a description of the code.· So even if you

24· don't know what "Code 13" is, you can understand what

25· the dispute is about?· Is that a fair statement?


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·1· · · · A· · Yes.

·2· · · · Q· · Okay.· Based on this dispute "13"; can you

·3· walk me through what -- how would you go about

·4· handling this dispute?· What would you do if you

·5· received this dispute?· And what would you be looking

·6· at in FACS?

·7· · · · A· · Um, in -- okay.· So in FACS, we would have

·8· to verify, um, all the information; demographics; make

·9· sure their address is correct.· Um, and we'd have to

10· make sure that the balance that is showing in Sonnet,

11· is matching to that what we have on file in FACS.

12· · · · Q· · Okay.· And so you're gonna verify the name,

13· that the name is correct; that the address is correct;

14· Social Security; and date of birth, for example,

15· correct?

16· · · · A· · Yes.

17· · · · Q· · All right.· I want you to, um, explain to

18· me the -- in Sonnet, the information that Sonnet is

19· producing to you when you first click to open up the

20· account?· Do you follow me so far?

21· · · · A· · Yes.

22· · · · Q· · Do you download that information?· Meaning

23· the dispute itself, do you download that, um, into any

24· database from ARS?

25· · · · A· · I don't -- I don't believe so.· I don't


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·1· know --

·2· · · · Q· · Okay.

·3· · · · A· · -- if that's something that is

·4· automatically done through Sonnet.· I don't know.

·5· · · · Q· · Okay.· What about if there's an image?· If

·6· there's an image with the ACDV, how do you handle

·7· that?

·8· · · · A· · Um, if there's an image, we have to review

·9· the image to see what it is.

10· · · · Q· · Okay.· So is it fair to say, You will not

11· be able to respond in Sonnet to an ACDV that has an

12· image, unless you open up the image, correct?

13· · · · A· · Yes.· We have to open up the image.

14· · · · Q· · Okay.· When you open up the image, do you

15· download that image and try to store it somewhere

16· within FACS, or within any other -- any other database

17· from ARS?

18· · · · A· · Um, no.· I don't download it.· It -- it

19· just remains in Sonnet.

20· · · · Q· · Okay.· Do you know why you don't download

21· that image and sort of keep it with the account notes,

22· or somewhere within your FACS system?

23· · · · · · ·MR. KOHLMYER, III:· Object to form.· You

24· · · · can answer; if you know.

25· · · · A· · I -- I -- I don't know.· That's just how


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·1· we -- I was trained, I guess, how to do that.

·2· · · · Q· · Okay.· So you have never been told, "Hey,

·3· if there's a letter, or if there's a document attached

·4· to an -- to an ACDV; download it and attach it to

·5· FACS"?· Or you don't -- so you were not taught to do

·6· anything like that, correct?

·7· · · · A· · Yeah.· I don't -- I don't know if there's a

·8· capability to download it into FACS.· I don't think

·9· so.

10· · · · Q· · Okay.· But you don't do it?· Let's just say

11· that?· You -- you -- you --

12· · · · A· · No, I don't.

13· · · · Q· · Okay.· Fair enough.· All right.· Now once

14· you verify; so I want you to tell me, "How do you go

15· about verifying the amount that -- that is due, or the

16· current balance"?

17· · · · A· · Um, any -- if -- if there's a change in the

18· balance, it would be reflected in FACS.· So, um, any

19· -- any notes or anything that would've came from the

20· original creditor in regards to like a change in the

21· balance, or a payment received, or just -- it would be

22· in the notes.· So we would --

23· · · · Q· · Okay.

24· · · · A· · -- review the notes.· But if there's no

25· change in the balance, we just report it as it's


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·1· showing.

·2· · · · Q· · Okay.· By looking at what's been marked as

·3· "Plaintiff's Exhibit No. 2", the ACDV provided by

·4· Equifax; um, under "Responder's Name", I see "Lisabet

·5· Pardo-Estrada".· Do you see that?

·6· · · · A· · Yes.

·7· · · · Q· · Okay.· And is that your name?

·8· · · · A· · Yes.

·9· · · · Q· · The company; the "Grantor's Name" is

10· "Account Resolution Services".· And is that your

11· employer?

12· · · · A· · Yes.

13· · · · Q· · The phone number I see is "954-377-2544".

14· Do you see that?

15· · · · A· · Um-hum.

16· · · · Q· · Is that a "yes"?

17· · · · A· · "Yes".

18· · · · Q· · Okay.· Do you know that phone number?· Is

19· that your direct line, or do you know what phone

20· number that is?

21· · · · A· · I believe that's my direct line.· I -- I --

22· I never use my phone, so, um --

23· · · · Q· · Okay.· Well, so tell me; one, "Do you take

24· inbound calls"?· Meaning if people are calling ARS,

25· would you answer that?


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·1· · · · A· · No.

·2· · · · Q· · Okay.· Do you make outbound phone calls?

·3· Um, outside of ARS, do you ever -- when conducting an

·4· investigation -- make outbound phone calls?

·5· · · · A· · No.

·6· · · · Q· · Okay.· Even though this document looks a

·7· little different; um, the information that you're

·8· reviewing when looking at Sonnet will tell you the

·9· original creditor; in this case, "In" -- "Inphynet

10· Contracting Services", correct?

11· · · · A· · Yes.

12· · · · Q· · Okay.· Um, one; "Have you heard of that

13· company before"?· That creditor?

14· · · · A· · Prior to working with ARS?

15· · · · Q· · Yes.· No, no, no.· No, no.· While -- with

16· working with ARS?

17· · · · A· · Yeah.· Yes.· I'm familiar with it.

18· · · · Q· · Okay.· And, clearly, you -- you -- you

19· wouldn't know off the top of your head; but can you

20· estimate, um, what percentage of the disputes on

21· average are based on that original creditor?

22· · · · · · ·MR. KOHLMYER, III:· Object to form.· You

23· · · · can answer; if you know.

24· · · · A· · I -- I don't know.

25· · · · Q· · Okay.


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·1· · · · A· · I have no idea.

·2· · · · Q· · Okay.· But do you -- the information as to

·3· who the original creditor is, is provided to you in

·4· Sonnet, correct?

·5· · · · A· · Yes, it is.

·6· · · · Q· · Would you -- or have you in the three

·7· years --

·8· · · · A· · Oh, wait.

·9· · · · Q· · -- that you have been --

10· · · · A· · I'm -- I'm sorry.· Give me one second.· Um

11· --

12· · · · Q· · Yes.

13· · · · A· · -- it is.· Yes, it is.

14· · · · Q· · Okay.· Um, in the three years you have

15· working and -- and, I guess, answering these ACDVs;

16· have you ever looked up the original creditor and

17· called them in order to do further investigation, um,

18· to respond to an ACDV dispute?

19· · · · A· · Um, no.

20· · · · Q· · Okay.· Now there is a program called "IDX".

21· Do you know what that is?

22· · · · A· · Yes.

23· · · · Q· · Tell me what that is?

24· · · · A· · Um, I don't normally use it; that's, um,

25· another -- um, other clerks use that.· It's, um -- you


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·1· can look up invoices in there, and payments that come

·2· in from the original creditor.

·3· · · · Q· · Okay.· And is it your understanding that if

·4· you were to log in to "IDX" and go into Inphynet

·5· Contracting, you will be able to see the actual

·6· documents from the creditor?· The documents that the

·7· creditor will have?

·8· · · · A· · I'm -- I'm not sure.

·9· · · · Q· · Okay.· You, personally, do not have access

10· to log in, in to "IDX" and look at the documents that

11· Inphynet will have, correct?

12· · · · A· · I -- yeah.· I don't use that, um -- I don't

13· use "IDX" at all.

14· · · · Q· · Okay.· How often do you go and ask either

15· another clerk or a supervisor to look into "IDX"?

16· · · · A· · Um, I mean, I -- I can't recall if I've had

17· to do that.· I don't remember.

18· · · · Q· · Okay.· You don't remember at least --

19· and -- and what you're saying is, "It may have

20· happened, but you actually have no recollection of

21· ever doing it"?

22· · · · A· · It -- it may have; but yes.· Yes.· That's

23· correct.

24· · · · Q· · Okay.· So it's a -- a rarity even if not

25· it's never happened; is that a fair statement?


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·1· · · · A· · Yes.

·2· · · · Q· · Okay.· Now, again, the document that you're

·3· looking at might look different to your normal view in

·4· Sonnet; but do you see this field called "FCRA

·5· Relevant Information".· Do you see that?

·6· · · · A· · Yes.

·7· · · · Q· · And do you have a similar field, um, when

·8· you're looking at your screen in Sonnet, regarding, I

·9· guess, some description of a communication that is

10· being provided to ARS?

11· · · · A· · Um, we -- we see that exact note that's

12· there.

13· · · · Q· · Okay.

14· · · · A· · It's actually in red.· It's highlighted in

15· red when we see it.

16· · · · Q· · Oh -- okay.· So when you -- when you're

17· looking at Sonnet, this portion, "FCRA Relevant

18· Information", is highlighted in red?

19· · · · A· · Yes.

20· · · · Q· · Are there any other fields that are color

21· coded, or somehow highlighted?

22· · · · A· · Um, yes.· If it were, um -- say we -- we

23· have an issue with the, um, Social Security Number not

24· matching, or they're claiming identity theft.

25· · · · Q· · And what color is -- what color, um, they


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·1· use for those highlights?

·2· · · · A· · It's -- it's -- it shows up as a -- like a

·3· little red alert, um, asterisk, with the notification

·4· next to it.

·5· · · · Q· · Okay.· Fair enough.· In a case like this,

·6· um, we discussed that the dispute is "13", which is

·7· disputing the current balance or amount past due; and

·8· it's requesting ARS to verify the current balance or

·9· amount past due, correct?

10· · · · A· · Yes.

11· · · · Q· · Okay.· You indicated to me that what you

12· would do is look at the information that you have in

13· FACS, and verify that it's the same that is being

14· provided to you by the credit reporting agency,

15· correct?

16· · · · A· · Yes.

17· · · · Q· · Okay.· Read, real quick, the "FCRA Relevant

18· Information" that was being provided to ARS.· Do you

19· see that?

20· · · · A· · Um, "I have documentation attached to

21· confirm that the account was paid in full for the

22· period in question".

23· · · · Q· · Okay.· So my first question to you is; One,

24· "Do you recall handling this specific ACDV that we're

25· discussing right now"?


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·1· · · · A· · I -- I don't recall.· I handle so many.

·2· · · · Q· · I understand that you just -- that -- that

·3· you told me earlier you're handling sometimes three or

·4· 400 a day; so I wouldn't expect --

·5· · · · A· · Yeah.

·6· · · · Q· · -- you to remember.· So the -- the next set

·7· of questions I'm gonna ask you, I want you to answer

·8· them in the manner which you normally would do the --

·9· the answering of the dispute.

10· · · · A· · Okay.

11· · · · Q· · Fair enough?

12· · · · A· · Yes.

13· · · · Q· · Okay.· So you just read the field that

14· would've been highlighted in red regarding "FCRA

15· Relevant Information", correct?

16· · · · A· · Yes.

17· · · · Q· · What would you do, then, by -- when you

18· read that?

19· · · · A· · Um, well, I -- I would check to -- check to

20· see what the -- if there was an image attached.

21· · · · Q· · Okay.

22· · · · A· · Um, obviously, 'cause it says "attached";

23· but I would've checked to see if there's an image

24· attached that would, um, provide proof of that

25· information.


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·1· · · · Q· · Okay.· And, again, you don't remember if

·2· there was an attachment, and what the attachment was,

·3· um, for the review that -- I guess the "Response Date"

·4· is indicated as "February 26, 2020", correct?

·5· · · · A· · Yes.

·6· · · · Q· · Okay.· And I wanna show you a letter that

·7· we're gonna mark as "Plaintiff's Exhibit No. 3", um,

·8· "Tampa General Hospital".· Tell me if you see that

·9· letter in your screen?

10· · · · A· · Yes.· I see it.

11· · · · Q· · This is dated "2/24/2020"; I'm assuming

12· that's what it would mean.· Um, and it's -- um, it

13· indicates the name of "Michael Brinkman".· Do you see

14· that?

15· · · · A· · Yes.

16· · · · Q· · Do you recall ever seeing this two page

17· document, um, that it has been -- actually, it's three

18· pages, um, that has been marked "EIS-BRINKMAN-009",

19· "0010", and "11".· And I'll slow down, so you can see

20· the second page.

21· · · · A· · I -- I don't -- I don't.· I'm sorry.    I

22· don't remember.

23· · · · Q· · Absolutely.· Fair enough.· So let's pretend

24· in the -- again, because you don't have independent

25· knowledge; um, let's pretend these three pages are


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·1· attached.· So let me know if you wanna read 'em

·2· carefully since you haven't seen them?

·3· · · · A· · Okay.· That's, um, from the hospital;

·4· the -- um, indicating he has a zero balance.

·5· · · · Q· · Okay.· It provides you also a phone number.

·6· Do you see that?

·7· · · · A· · Yes.

·8· · · · Q· · Would you -- even if you got this letter

·9· when you were doing this, um -- when you were doing

10· this A -- handling this "ACDV"; would -- you wouldn't

11· call the hospital at the phone number provided there,

12· correct?

13· · · · A· · No.· No.

14· · · · Q· · Okay.

15· · · · A· · Um, that would -- that would be something

16· that the original creditor would handle.

17· · · · Q· · Okay.· Fair enough.· Um, the second page,

18· if you don't mind looking at it?· Clearly, I don't

19· need you to analyze every detail for today's

20· deposition.

21· · · · A· · Okay.

22· · · · Q· · Okay.· If you received these two pages, and

23· the next page, which just literally says, "Current

24· Hospital Balance:· Zero".· If you received those pages

25· as an attachment with the ACDV we were looking at;


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·1· what would you do?

·2· · · · · · ·MR. KOHLMYER, III:· Object to form.· You

·3· · · · can answer; if you know.

·4· · · · A· · Um, I would check to -- check the notes to

·5· see if there was something, um, that we received from

·6· the client.· Um --

·7· · · · Q· · Okay.

·8· · · · A· · -- to see if they, um, either, um, agreed

·9· to that balance, and --

10· · · · Q· · Okay.· So since you're -- you're not logged

11· in right now into FACS; I'm gonna represent to you

12· that your response occurred on "February 26, 2020".

13· · · · A· · Um-hum.

14· · · · Q· · So if I was to look at "February 26th"; um,

15· I wanna show you what's been previously marked as

16· "Plaintiff's Exhibit 1", "ARS 13".· The beginning date

17· is "January 29, 2020".· Do you see that?

18· · · · A· · Yes.

19· · · · Q· · The ending date of the portion of the

20· document we're looking at is "March 9, 2020".· Do you

21· see that?

22· · · · A· · Yes.

23· · · · Q· · On "February 26, 2020", it's alleged that

24· you responded to this ACDV.· I want you to kind've

25· review the notes that we have on your screen, and tell


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·1· me is there anything that you will review in these

·2· account notes that will serve as useful based on those

·3· two pages that, allegedly, were attached?

·4· · · · A· · Um, I mean, I see the response, the "CFP"

·5· (sic), that was already taken care of.· I -- I don't

·6· know.· Um-um.

·7· · · · Q· · Okay.· I wanna ask you a little bit -- I'm

·8· sure you don't know every single term, um, what it

·9· means within this document; but do you recognize or

10· are you familiar with some of the terminology that is

11· being used, um, within this "Con" -- this "Consumer

12· Fact Sheet"?

13· · · · A· · Um, as far as?

14· · · · Q· · For example --

15· · · · A· · Any particular section?

16· · · · Q· · Let -- let's just pretend we're looking at

17· "February 17, 2020", beginning at "5:15 p.m."· Do you

18· see that entry?

19· · · · A· · Yeah.· I don't know if those are like

20· automated -- automatically generated.· I -- I'm not

21· quite sure.

22· · · · Q· · Okay.· This "nje", are you aware of whether

23· this is an automated, or this is a person?

24· · · · A· · I'm not -- that's what I'm -- I'm not sure

25· about.


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·1· · · · Q· · Okay.· When you're looking at --

·2· · · · A· · I think it's automated, but I'm not quite

·3· sure.

·4· · · · Q· · Fair enough.· When you're looking at

·5· answering an ACDV dispute; do you look to see whether

·6· or not there has been previous disputes, um, through

·7· the CRAs on that account?

·8· · · · A· · Um, I mean, usually, what I look for is,

·9· um -- in something like this, it would be like "client

10· notes" would be more concerning to me, um --

11· · · · Q· · Okay.

12· · · · A· · -- in regards to the balance.

13· · · · Q· · Okay.· So you will look to see if somebody

14· wrote, actually typed --

15· · · · A· · Yes.

16· · · · Q· · -- any type of note?· All right.· So I

17· wanna ask you again regarding the training you

18· received, um, from Nick about three years ago.

19· · · · A· · Um-hum.

20· · · · Q· · When you're handling a dispute, just like

21· the one we're looking at right here under "Code 13";

22· um, you indicated to me that you will have ARS open,

23· and you will look at the notes just like we're looking

24· at right now, correct?

25· · · · A· · Yes.


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·1· · · · Q· · Were you taught, or are you required to

·2· enter notes into FACS indicating, "I'm responding to

·3· the ACDV; this is what I did; or this is what I looked

·4· at; or this is who I spoke to"?

·5· · · · A· · Um, we only -- I only put in notes if

·6· there's some type of documents attached to the

·7· original ACDV.· If they provide some kind of

·8· documentation; 'cause we're required to respond, um,

·9· with a validation.

10· · · · Q· · Okay.· So what kind of notes -- oh, would

11· you -- what kind of notes would you write if you had

12· received those two pages just like we looked at a

13· little bit ago, um, on February -- if you received the

14· three pages we just looked at when you're responding

15· on "February 26th"; what would you expect to see in

16· the FACS account notes?

17· · · · A· · Um, I -- I -- I mean, I would probably put

18· in, "Forwarded to so and so for review".

19· · · · Q· · Okay.· Um, in this case, I don't see any

20· entries by you on "February 26, 2020".· Do you agree

21· with that?

22· · · · A· · Yes.

23· · · · Q· · Now if you were looking at FACS on

24· "February 26, 2020" like you normally do, and you saw

25· this entry, "Responded to CFPB Complaint".· Do you see


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·1· that?

·2· · · · A· · Um-hum.

·3· · · · Q· · Is that a "yes"?

·4· · · · A· · "Yes".

·5· · · · Q· · Okay.· Um, would you look up that CFPB

·6· complaint to see what was alleged, or what was being

·7· complained of?

·8· · · · A· · Um, I -- no.· I don't -- I -- I don't

·9· normally handle that.

10· · · · Q· · Okay.· Would you even have access to go

11· find that CFPB complaint?

12· · · · A· · Um, no.

13· · · · Q· · Okay.· I see the initials right here "PJB".

14· Do you see that?

15· · · · A· · Yes.

16· · · · Q· · Do you know who "PJB" is?

17· · · · A· · Yes.

18· · · · Q· · And who is that?

19· · · · A· · Um, "Patrick Brennan".

20· · · · Q· · Okay.· And is that the vice-president of

21· ARS?

22· · · · A· · Yes.

23· · · · Q· · Had you, on "February" -- on "February 26,

24· 2020", gone and spoken with him and tried to discuss

25· what the CFPB complaint was about, would you


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·1· anticipate or expect that you would've written some

·2· notes in FACS, such as, "I spoke to Mr. Brennan", or,

·3· "I was told A, B, or C"?

·4· · · · A· · Um, I've -- I've not done that before; so I

·5· don't think so.

·6· · · · Q· · Oh, okay.· All right.· So it's fair to say

·7· that on "February 26th", you did not go and speak to

·8· the vice-president, Mr. Brennan, regarding handling a

·9· dispute for Mr. Brinkman?

10· · · · A· · No.

11· · · · Q· · All right.· I wanna ask you about a couple

12· of the terms here; and tell me if you know what they

13· mean, or have any familiarity with it or not.· On --

14· on "March 9, 2020", at "6:43" -- "at 6:34 p.m."· Do

15· you see that entry?

16· · · · A· · Yes.

17· · · · Q· · There is some type of letters and numbers.

18· "DU98901".· Do you see that?

19· · · · A· · Yeah.

20· · · · Q· · Do you know what that means?

21· · · · A· · No.

22· · · · Q· · Okay.· All right.· Fair enough.· If I was

23· to look and -- or see this number:· "DU88505".· Do you

24· see that?

25· · · · A· · Um-hum.


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·1· · · · Q· · And I'm sorry.· I keep saying, "Is that a

·2· yes" because --

·3· · · · A· · Yes.

·4· · · · Q· · -- madam clerk (sic) --

·5· · · · A· · I'm sorry.· "Yes".

·6· · · · Q· · Do you know what that means, or what event

·7· took place, or what occurred that this "DU88505"

·8· would've -- would appear in FACS?

·9· · · · A· · Um, it looks -- it -- it -- I believe it's

10· some type of field maybe in FACS that was changed.

11· · · · Q· · Okay.· But you -- you don't know what

12· event, or what could've taken place, um, to generate

13· this number or this field?

14· · · · A· · I'm not quite sure.

15· · · · Q· · Okay.· So if you were right now reviewing

16· the dispute for Mr. Brinkman, and you have -- you were

17· responding to him right now, and you looked at this

18· FACS report; any of these entries reflecting "DU88505"

19· wouldn't give you any type of useful information, or

20· you wouldn't know what that means, correct?

21· · · · A· · No.· Yes.· That's correct.

22· · · · Q· · All right.· I know, um -- I showed you, um,

23· what was previously marked as, "Plaintiff's Exhibit

24· No. 2", a document produced from Equifax, um, where

25· it's alleged that you responded to this ACDV.· Were


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·1· you able to determine how many dispute responses did

·2· you handle for Mr. Brinkman on behalf of ARS?

·3· · · · A· · Um --

·4· · · · · · ·MR. KOHLMYER, III:· Object to form.

·5· · · · Personally or overall?

·6· · · · Q· · No.· Personally, Ms. Pardo.· You,

·7· personally, how many did you handle?

·8· · · · A· · Um, I think it was -- I -- I think it was

·9· just this one.

10· · · · Q· · Okay.· Fair enough.· Um, is there -- okay.

11· So let me ask you this.· I see an entry by you on --

12· still we're looking at "Plaintiff's Exhibit No.", um,

13· "1"; it's been marked as "ARS 13".· I wanna talk about

14· "March 20, 2020".· Do you see that entry at

15· "3:24 p.m."?

16· · · · A· · Yes.

17· · · · Q· · It's actually two different lines.· Would

18· you mind reading them to yourself, and tell me what

19· you think, or if you know what that means, what you

20· did on that day?

21· · · · A· · Yes.· Um, "Letter #17" is a -- um, a

22· validation letter.· We have to enter in "Letter #17"

23· for it to get sent out; and then I just documented

24· that I had -- it got mailed out.

25· · · · Q· · Okay.· What is your understanding of what


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·1· "Letter #17" is?

·2· · · · A· · Um, it's a -- it's a letter validating the,

·3· um -- um, validating the account information.

·4· · · · Q· · This entry that I'm looking at on "March

·5· 20, 2020"; um, you -- this is actually you making the

·6· input in to the FACS system?· Is that a fair

·7· statement?

·8· · · · A· · Yes.

·9· · · · Q· · Okay.· And I guess you order this "Letter

10· #17" on "March 20th".· The letter seems to have been

11· sent or mailed on "March 23, 2020".· Do you agree with

12· that based on your review of these FACS notes?

13· · · · A· · Yes.

14· · · · Q· · I wanna show you what I wanna mark as

15· "Plaintiff's Exhibit 4".· And I'm gonna show you a

16· letter dated "March 23, 2020", with the name of

17· "Michael Brinkman".· I'm gonna represent to you this

18· document is "ARS 22".· I want you to take a second to

19· look at this letter.

20· · · · A· · Okay.

21· · · · Q· · Have you seen a letter like this before?

22· · · · A· · Um -- um, yes.· I -- I've seen them come in

23· before.

24· · · · Q· · Okay.· Is it --

25· · · · A· · --


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                                                                    YVer1f
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                              April 22, 2021

·1· · · · Q· · -- your understanding -- I'm sorry.· It --

·2· it seen says "A17" at the bottom right; is that

·3· correct?

·4· · · · A· · Yes.· That's "Letter #17".

·5· · · · Q· · Okay.· Do you believe -- I mean, clearly,

·6· based on the document; do you believe that this is the

·7· letter that you initiated on "March 20th" to be mailed

·8· to Mr. Brinkman as we review the FACS accounts?

·9· · · · A· · Yes.

10· · · · Q· · Okay.· When would you send this letter?

11· Like what -- what will cause you to send this

12· validation letter?

13· · · · A· · Um, any time we -- we receive a, um, ACDV

14· with a, um, image attached to it, or any documents

15· attached to it; we're required to respond with a

16· letter.

17· · · · Q· · Okay.· Um, I wanna show you then again --

18· well, in this letter it says, um, "ARS has verified

19· this information with our client, and confirmed the

20· outstanding balance of $2811.58", correct?

21· · · · A· · Um-hum.· "Yes".

22· · · · Q· · Do you know what you, personally, or ARS

23· did to verify with Inphynet the outstanding balance of

24· "$2,811.58", on "March 2020"?

25· · · · A· · Um, yes.· We would review the -- the doc --


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·1· the communication notes in FACS.

·2· · · · Q· · Okay.

·3· · · · A· · If there was any -- any communication that

·4· came in from the client, um, that's how we would

·5· verify.

·6· · · · Q· · Okay.· So it's fair to say, You will not

·7· send that letter on "March, um, 27th" -- I mean, on

·8· "March 23rd" right here, um, requested on "March

·9· 20th", without looking at FACS, correct?

10· · · · A· · Yes.· We -- it -- it -- it gets sent

11· through FACS, so.

12· · · · Q· · Okay.· Fair enough.· Let me ask you; I want

13· you to read the -- the entry on "March 18, 2020", at

14· "4:03 p.m."· Do you see that entry?

15· · · · A· · Yes.

16· · · · Q· · Well, it's -- it's two lines, and it says,

17· "Inbound call from 321-987-6596".· Do you see that?

18· · · · A· · Yes.

19· · · · Q· · Underneath it, it says, "Kyra called" --

20· I'm assuming this means -- it's "called" -- "from the

21· insurance; will e-mail an 'EOB'".· Do you understand

22· that to be an "Explanation of Benefits"?

23· · · · A· · Yes.

24· · · · Q· · Okay.· It seems like the next day, "March

25· 19th", so this is the day before you sent that letter;


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·1· there are some account notes, um, within FACS,

·2· correct?

·3· · · · A· · Yes.

·4· · · · Q· · Okay.· My first question to you is; "Do you

·5· know who Kyra Weiss is"?

·6· · · · A· · No.

·7· · · · Q· · Okay.· Um, I want you to read us the entry

·8· within FACS of what -- the conversation of what

·9· occurred on "March 19th"?

10· · · · A· · Okay.

11· · · · Q· · Okay.· Tell me by reading this, it says

12· "Received e-mail from Kyra Weiss".· Do you see that?

13· · · · A· · Yes.

14· · · · Q· · "RMM" are the initials.· Do you know who

15· "RMM" is?

16· · · · A· · Um, yes.

17· · · · Q· · Who is that?

18· · · · A· · Um, that would be "Ruth".· "Ruthie".

19· · · · Q· · "Ruthie"?· Well, do you know what her last

20· name is?

21· · · · A· · Oh, gosh.· I think it's "Melendez".

22· · · · Q· · Okay.· And do you know -- we'll call her

23· "Ruth" since you don't know for sure the last name.

24· Um, where is Ruth relative to where you sit in your

25· cubicle?· Can you tell me how far she is, or if she's


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·1· in the same room?

·2· · · · A· · She's in the next cubicle over.

·3· · · · Q· · Right next to you?

·4· · · · A· · Yeah.· Right behind me.

·5· · · · Q· · Oh, right behind you.· Okay.· Do you

·6· remember on "March 20th" when you were validating and

·7· sending that letter to Mr. Brinkman, whether you spoke

·8· to Ruth about this case?· Mr. Brinkman's case?

·9· · · · A· · I -- I don't remember.

10· · · · Q· · Would you agree with me that had you spoken

11· with Ruth, you would've made an entry, um, within

12· FACS?

13· · · · A· · Um, if I would have spoken to her and --

14· yes.

15· · · · Q· · Okay.· So the fact that I don't see a note

16· on "March 20th" from you saying, "I spoke to Ruth";

17· means most likely you actually did not speak to Ruth

18· about this case prior to sending that "Letter #17",

19· correct?

20· · · · A· · Yes.· Um, probably because I see that

21· the -- um, she -- she did not -- wasn't able to open

22· up the attachment, the PDF file.

23· · · · Q· · Okay.

24· · · · A· · So she didn't receive it.

25· · · · Q· · "She didn't receive it"?· But you --


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·1· you're -- you don't know that because she told you.

·2· You only know that because you're reading, I guess, an

·3· entry on "March 19, 2020", at "9:41", that said, "The

·4· PDF file cannot be open".· Is that a fair statement?

·5· · · · A· · Yes.

·6· · · · Q· · I want you to tell me what you did, if you

·7· remember, or what you would've done, if you don't

·8· remember specifically, um, with -- with the entry

·9· regarding the -- the e-mail from Kyra Weiss?

10· · · · A· · Um, could you repeat the question?

11· · · · Q· · Absolutely.· In "March 20th", I know you're

12· working on this file for ARS, correct?

13· · · · A· · Yes.

14· · · · Q· · I want you to tell me if you remember

15· exactly what you did, um, with the comment from "March

16· 19th", with all the information that is being provided

17· to you here?

18· · · · A· · I mean, I don't remember what I did.· But

19· I -- what I -- I would've sent the letter, because we

20· hadn't received the "EOB" yet.

21· · · · Q· · Okay.· Why wouldn't you call Kyra, since

22· the e-mail was from Kyra Weiss, and you have the phone

23· number right here on "March 18, 2020"?

24· · · · A· · I don't handle -- that's not my -- in my

25· scope of -- that's not something I handle.


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·1· · · · Q· · Okay.· And you have repeated to me that

·2· in -- when handling responses to disputes, you

·3· wouldn't make phone calls to either the insurance or

·4· clients, correct?

·5· · · · A· · I -- yes.

·6· · · · Q· · Okay.· Would you consider calling

·7· Mr. Brinkman and saying, "Hey, we have your phone

·8· number; would you, please, provide us this

·9· 'Explanation of Benefits'"?

10· · · · A· · That's also out of my -- I -- that's not

11· something I normally do.

12· · · · Q· · Okay.

13· · · · A· · Out of my scope --

14· · · · Q· · More -- okay.· More than that.· In here

15· it's indicating, "There should not be a balance

16· billing the member".· Do you see that?

17· · · · A· · Yes.

18· · · · Q· · What does that mean to you?

19· · · · · · ·MR. KOHLMYER, III:· Object to form.

20· · · · A· · Um, it means that the insurance is saying

21· that the member should not be, um, charged -- have a

22· balance.

23· · · · Q· · Okay.· Okay.· And it actually says, "Please

24· adjust account and remove member for collections",

25· correct?


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·1· · · · A· · Yes.

·2· · · · Q· · Did you reach out to Inphynet prior to

·3· sending this "March 20", or generating, or requesting

·4· the "Letter #17", on "March 20, 2020" to verify

·5· whether or not there was a balance, or whether or not

·6· Mr. Brinkman should be removed from collections?

·7· · · · A· · Um, it would've been reflected already in

·8· the notes.· We would've received that communication

·9· from them; and it would've been documented in the

10· notes.

11· · · · Q· · Okay.· So I -- and I wanna make sure I

12· understand.· Clearly, your job when responding to

13· ACDVs through Sonnet, or your job when generating a

14· "Letter #17" does not involve direct communications

15· with the clients; in this case, "Inphynet", correct?

16· · · · A· · Yes.· I didn't handle direct communications

17· with them in regards to that.

18· · · · Q· · And isn't it true that you actually have

19· never in your three years had any commun -- direct

20· communication with Inphynet Contracting Services when

21· conducting a dispute investigation?

22· · · · A· · Um, not -- no.

23· · · · Q· · Okay.· So -- so it's correct, "You have

24· never contacted Inphynet Contracting Services when

25· conducting a dispute"?


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                             April 22, 2021

·1· · · · A· · Um, not -- I mean, I don't see any notes

·2· here from them.· Um --

·3· · · · Q· · Okay.

·4· · · · A· · -- that they received the "EOB"; so I

·5· wouldn't have, um, contacted them, unless they

·6· would've had that information.

·7· · · · Q· · Okay.· But my question is even more

·8· general.· In the three years that you have been

·9· working at ARS, you have never personally contacted

10· Inphynet when conducting an ACDV investigation -- an

11· ACDV dispute investigation, correct?

12· · · · A· · Um, not -- not that I recall.

13· · · · Q· · Okay.· There are, I guess, some individuals

14· at -- at ARS that have direct contact with Inphynet;

15· but you're not one of those people, correct?

16· · · · A· · That's right.

17· · · · Q· · Okay.· You actually don't have contact with

18· any of the creditors, um, that ARS is collecting for?

19· Meaning you personally?

20· · · · A· · Um, me personally, no.

21· · · · Q· · Okay.· In the three years that you have

22· worked at ARS, have you ever used the phone desk,

23· the -- the -- the phone at your desk to contact anyone

24· regarding answering an ACDV, um, dispute?

25· · · · A· · No.


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·1· · · · Q· · Okay.· Why don't we take, um, a five minute

·2· break.· I don't think I got a lot more questions.· Um

·3· --

·4· · · · · · ·MR. KOHLMYER, III:· Okay.

·5· · · · · · ·MR. GOMEZ:· -- is that okay with you,

·6· · · · Ms. Pardo?

·7· · · · · · ·THE WITNESS:· Sure.

·8· · · · · · ·MR. GOMEZ:· Ms. Gonzalez?

·9· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

10· · · · reporter answers in the affirmative).

11· · · · · · ·MR. GOMEZ:· It's 11:10; why don't we come

12· · · · back -- let's say 11:20, just so everybody can

13· · · · take a break.· Is that good?

14· · · · · · ·THE WITNESS:· Yeah.· That's fine.

15· · · · · · ·MR. GOMEZ:· All right.· See you at 11:20.

16· · · · Thank you.

17· · · · · · ·THE WITNESS:· Okay.

18· · · · · · ·(Thereupon, a break was taken)

19(Thereupon, all of the parties returned from the break)

20· BY MR. GOMEZ:

21· · · · Q· · All right.· If we're ready, let's go back

22· on the record.· Ms. Pardo, we're almost done.· I just

23· wanted to show you, just to make sure; um, I see, um,

24· within the documents we were reviewing, initials

25· "LZA", which is gonna be on page, um -- "Plaintiff's


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·1· Exhibit No. 1", "ARS 14", um, "April 22, 2020".

·2· "LZA".· Do you see that?

·3· · · · A· · Yes.

·4· · · · Q· · Do you know who that is?

·5· · · · A· · I'm not quite sure.

·6· · · · Q· · Okay.· But that is not you, correct?

·7· · · · A· · No.· That's not me.

·8· · · · Q· · Do you have any independent recollection of

·9· handling at any point -- outside of preparing for

10· today -- um, the account that ARS had for a Michael

11· Brinkman, um, that we're discussing today?

12· · · · A· · Um, I -- I'm sorry.· Could you repeat that

13· again?

14· · · · Q· · Absolutely.· Do you have any independent

15· recollection of handling, um, any portion of the

16· account that ARS had for Michael Brinkman?

17· · · · A· · Um, I -- I wouldn't be able to remember any

18· details of it.· I handle so many accounts a day.

19· · · · Q· · Absolutely.· Um, I have no further

20· questions.· Mr. Kohlmyer?

21· · · · · · ·MR. KOHLMYER, III:· I have no questions.

22· · · · Um, if the transcript is ordered; um, she'll

23· · · · read, and I'll take a copy.

24· · · · · · ·MR. GOMEZ:· We will, um, order the

25· · · · original.· And we just need -- um, the


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·1· ·electronic copy is fine with us, in regular

·2· ·time.

·3· · · · MR. KOHLMYER, III:· Same with us.

·4· · (Thereupon, the remote teleconference

·5· ·video deposition concluded at 11:25 a.m.)

·6

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                             April 22, 2021

·1· · · · · · · · ·CERTIFICATE OF REPORTER

·2

·3· STATE OF FLORIDA

·4· COUNTY OF HILLSBOROUGH

·5

·6· · · ·I, ALTHEA WILLIAMS-GONZALEZ, Court Stenographer,

·7· certify that I was authorized to and did remotely

·8· stenographically report the Remote Teleconference Video

·9· Deposition of LISABET PARDO-ESTRADA, pages 1 through 61

10· that a review of the transcript was requested; and that

11· the transcript is a true record of my stenographic

12· notes.

13

14· · · ·I FURTHER CERTIFY that I am not a relative,

15· employee, attorney, or counsel of any of the parties;

16· nor am I a relative or employee of any of the parties'

17· attorneys or counsel connected with the action; nor am

18· I financially interested in the action.

19

20· · · · · DATED this 9th day of May, 2021

21

22· · · · · _______________________________

23· · · · · ALTHEA WILLIAMS-GONZALEZ
· · · · · · Court Stenographer
24

25


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                             Lisabet Pardo-Estrada
                                 April 22, 2021

·1· · · · · · · ·WITNESS NOTIFICATION LETTER

·2
· · May 9, 2021
·3

·4·   Ernest H. Kohlmyer, III, Esquire
· ·   Shepard, Smith, Kohlmyer & Hand, P.A.
·5·   2300 Maitland Center Parkway
· ·   Suite 100
·6·   Maitland, FL 32751

·7
· ·   In Re:·   Mike Brinkman vs. Equifax Information
·8·   · · · ·   ·Services, LLC and Account Resolution
· ·   · · · ·   ·Services, LLC.
·9·   · · · ·   · · Remote Teleconference
· ·   · · · ·   · · Video Deposition taken on 4/22/21
10·   · · · ·   · · U.S. Legal Support Job No. 2403588

11
· · · · ·The transcript of the above proceeding is now
12· available for your review.

13· · · ·Please call to schedule an appointment between the
· · hours of 9:00 a.m. and 4:00 p.m., Monday through Friday,
14· at a U.S. Legal Support Office located nearest you.

15· · · ·Please complete your review within 10 days.

16

17· Sincerely,

18

19·   Althea Williams-Gonzalez
· ·   Court Stenographer
20·   U.S. Legal Support, Inc.
· ·   4200 West Cypress Street
21·   Suite 750
· ·   Tampa, FL 33607
22·   (813)876-4722

23· CC:· Via Transcript

24
· · Octavio Gomez, Esquire
25


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                             April 22, 2021

·1· · · · · · · · ·E R R A T A· S H E E T

·2· · · · · · ·DO NOT WRITE ON THE TRANSCRIPT
· · · · · · · · ·ENTER CHANGES ON THIS PAGE
·3

·4· · · IN RE:· MIKE BRINKMAN VS. EQUIFAX INFORMATION
· · · · · · · · SERVICES, LLC AND ACCOUNT RESOLUTION
·5· · · · · · · SERVICES, LLC.

·6· · · · · LISABET PARDO-ESTRADA; April 22, 2021

·7· U.S. Legal Support Job No. 2403588

·8· Page· · Line· · ·Change· · · · · · · ·Reason

·9

10· _______________________________________________________

11· _______________________________________________________

12· _______________________________________________________

13· _______________________________________________________

14· _______________________________________________________

15· _______________________________________________________

16· _______________________________________________________

17· _______________________________________________________

18· _______________________________________________________

19· _______________________________________________________

20· _______________________________________________________

21· _______________________________________________________

22· Under penalties of perjury, I declare that I have read
· · the foregoing document and that the facts stated in it
23· are true.

24· ____________________· · · · ___________________________
· · Date· · · · · · · · · · · · Lisabet Pardo-Estrada
25


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